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l Cas"e 2: 04- c\/- 02108- SHI\/|- STA Document 89 Filed 05/23/05 Page 1 019 Page|D 118

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UNITED STATES DISTRICT CoURT jim

Western DiSU-jct Of Tennessee

Trip|e H Distribution
V.

BILL ()F COSTS

Case Number: 2:O4cv2108
Schwarzkopf 81 Dep, |nc. et al

Judgnient having been entered in the above entitled action on 3/24/2005 against Plainiifi
Date

 

the Clerk is requested to tax the following as costs:

Fees of the Clerl< .................................................................. $ 150'00
Fees for service of summons and subpoena .............................................. O'OO
Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the case 2-145‘07
I"ees and disbursements for printing ................................................... O-OO
Fees t`or witnesses (iternize on reverse side) ............................................. \_ 0-00
Fees for exemplification and copies of papers necessarily obtained for use in the case ............ 0.00
pocket rees under 28 U.s.C. 1923 ..................................................... O-OO
Costs as shown on Mandate ofCourt of Appeals ......................................... 0'00
Colnpensation oi` court-appointed experts ............................................... O~OO
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 ..... 0'00
Other costs (please itemize) .......................................................... 0-00

TOTAL 3 2,295.07

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories

 

DECL,ARATION
1'

l declare under penalty of perjury that the foregoing costs are man were necessarily incurred m this action and that the services

t`or which fees have been charged were actually and necessarily peri` ed. A copy ot" th1s bill was mailed today with postage
prepaid to Adam Nahrnias Esquire / j

Signature ofAttorney: //Z/é// L"l ii"`_"/€C-/”w‘

Name OfAttOmey: John T. Winemi||er

 

pon |;|enkel Corp., for itself and as successor by merger to Schwarzkopt & Dep, lnc. Date; 171 2d 05
Narne ofClaiming Party

21 ' 0 8 0 7 and included in thejudgment.
By: 5 :/Z:I /OS/._

D pury C|erk Date 7 //j

_ f /
Th|s document entered 'ori the docket sh _ en § 01

with Fiula 58 andlor 79{a) FRCP on 0

 

 

  
 
 

Case 2:O4-cv-02108-SHI\/|-STA Document 89 Filed 05/23/05 Page 2 of 9 Page|D 119

 

WlTNESS FEES (computation, cf. 28 U.S.C. 1821 for statutory fees)

 

A'TTI:`.NDANCE SUBSISTENCE MIL.EAGE

l 'Fotal Cost
N/\Ml; ANl) l{ESlDENCE ']`otal Total "l`otal Each Witness

Days Cost Days Cosl Mi|es Cost

 

$0.00

$0.00

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ToTAL $0.00

 

 

 

 

 

 

NOTlCE

Section 1924, Tit|e 28, U.S. Code (effective September l, 1948) provides:
“Sec. 1924. Verification of bill of costs.”

“Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an aftidavit,
made by himself or by his duly authorized attorney or agent having knowledge of the facts, that such item is correct and
has been necessarily incurred in the case and that the services for which fees have been charged were actually and
necessarily perforrned.”

See also Section 1920 of Title 28, which reads in part as follows:
“A bill of costs shall be filed in the case and, upon allowance, included in thejudgment or decree.”

'l`he Federal Rules of Civil Procedure contain the following provisions:
Rule 54 (d)

“Except when express provision therefor is made either in a statute of the United States or in these rules, costs shall
be allowed as of course to the prevailing party unless the court otherwise directs, but costs against the United States1 its
officers, and agencies shall be imposed only to the extent permitted by law. Costs may be taxed by the clerk on one
day’s notice. On motion served within 5 days thereafter, the action of the clerk may be reviewed by the court.”

Rule 6(e)
“Whenever a party has the right or is required to do some act or take some proceedings within a prescribed period

after the service ofa notice or other paper upon him and the notice or paper is served upon him by mail, 3 days shall be
added to the prescribed period.”

Rule 58 (ln Part)
“Entry ofthejudgment shall not be delayed for the taxing of costs.”

 

 

Case 2:O4-cv-O2108-SHI\/|-STA Document 89 Filed 05/23/05 Page 3 of 9 Page|D 120

IN THE UNITED STATES DISTRICT C()URT
FOR THE WESTERN DISTRICT OF TENNESSEE
at MEMPHIS

TRIPLE H DISTRIBUTING, INC.
Plaintiff,
Mays/Anderson

)
l
)
)
v. ) No. 2:04-CV-2]08
)
SCHWARZK()PF & DEP, INC. AND )
HENKEL CORPORATION )

)
Defendants. )

ITEMIZATION OF COSTS

Deposition of Gene Hamilton:

 

Description Total

 

Attendance - Deposition $160.00

 

Original & Copy (expedite) $1,078.4?

 

Exhibits $1.00

 

Binding/Handling $37.00

 

Notary Fee $4.00

 

 

 

 

A copy ot` the documentation to support these charges is attached as Exhibit A.

Case 2:O4-cv-O2108-SHI\/|-STA Document 89 Filed 05/23/05 Page 4 019 Page|D 121

Deposition of Larrv Hamilton:

 

 

 

 

Description Total
Original & Copy $573.]0
Exhibits $i .50
Notary Fee $4.00

 

 

 

 

A copy of the documentation to support these charges is attached as Exhibit B.

Deposition of Ernie Becker:

 

Description Total

 

COPy s286.00

 

 

 

 

A copy of the documentation to support these charges is attached as Exhibit C.

64926.(]{)[}003 KNOXVlLLE 3783()vl

 
 
 
 
  

:O4-cV-O2108-SH|\/|-STA Document 89 Filed 05/23/05 PageBot9 Page|D 122

    

ALP}_IA §§Wednesday lo;:e)mder 15 27o7074 sic/17
REPORTING
CORPORATION ' Remit to:

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v,/ § §,,»' Memphis, Tennessee 38103
1961)52§3-8974 ' i-*AJ\`<'r`aol') 523'_8'9_15§
John Lucas (800)556-89'1'4
Hunton 81 Wil|iarns LLP " 777 _ 7 h 7 t_' ' " ' '
Riverview Tower, 900 Gay Street w“'a p al epor mg'c°m
Sl.lile 2000 Tax Number Tenns; Payable upon receipt
Knoxvi"e7 TN 37902 624 lbz“$é i.5% PC`|' l‘nOl‘llh

 

Witness: Hamitton, Gene

 

 

 

 

 

 

 

 

 

Case: Trip|e H. Disttn'bution, lnc. vs. Schwarzkopf & Dep, inc. & Henkel Corporati
Venue:

Case #: 2:04-CV-2108

Date: 1217/2004 »':
Start Time: 9:00 AM

End Time: 3145 PM

Reporter: rley. A|pha Productions

C|aim #:

 

FiiE #! ` 4791LNW

    

Attendarice Depositiori § l § § y 57160.00

 
 

  

 

 

 

 

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Plcase make check payable lo: ,§ VISA .. Ma$tercard

Alpha chot'ting Corporation r ' er ' ~ f ~- ----~*~e

Print Name (as it appears on your credit card)

Credit Card # Exp Date Daytime Telephone

Payr§nen-t-Bue Upon Receipt§of Invoice

Case 2:O4-CV-O2108-SHI\/|-STA Document 89 Filed 05/23/05 Page 6 of 9 Page|D 123

 

 
 
 
  

 

 

Tues§day. Decernber 28, 2004 5712MA

ALPHA
REPORTING
CORPORATION Remit ro:

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Memphis, Tennessee 38103

(9011`5"23-1§3§§§7§4§§§ FAx (90§1`)`523-3975

John Winmii|er (800) 556-8974

Hutton & Wi||iarns

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Rrvervlew Tower 900 Soulh Gay St. Ww a p arepom"g com
Suiie 2000 Ta:\' Numbcr Tcrms: Pa_\'ab|c upon receipt
Knoxvi"e7 TN 37902 62-1|62~136 l.§% per month

 

Witness: Hammon. Gene

 

 

 

 

 

 

 

 

Case: Trip|e H. Disttribution, |nc. vs. Schwalzkopf& Dep, |nc. 81 Henkel Corporati
Venue:

Case #: 2:04-CV-2108

Date: 121712004

Start Time: 9:00 AM

End Time: 3:45 PM

Reporter: rfey, Alpha F’roductions

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File #: 4791LNW

 

 

    

 

 

 

 

 

 

 

 

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Please make check payable 10: §§ VISA 12 MasterCard

 

Alpha Reporting Corporation - ~ ~~

Print Name (as il appears on your credit card)

Crcdit Card # Exp Dale§ Da\“lirnc§ Telcphonc

Pa§yment Due Upon Receipt oflnvoi'ce

 

Case :O4-CV-02108-SH|\/|-STA Document89 Filed 05/23/05 Page70f9 Page|D 124

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ALPHA ~_------~~
1 REPORTING
CORPORATION Remir w=
/XQ ‘IsT 1N R£Pomc; AND sERWcE" 100 North Main Building, I_obby
Memphis, Tennessee 38103
(9_0'1")"§§§`-§§'7? n '*§Ax"(§d"l'j 523_§§75

JOhn Lucas (SUU) 556-8974
Hunton & Wi1|iams LLP *imi in# '
Riverview Tower, 900 Gay Street

www.a|ph:l repo rting.com

 

 

 

 

 

 

 

 

Suife 2000 Tax Number Terms: Payablc upon receipt
Knoxvme' TN 37902 62-1|62456 1.5% per month
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Case: n n Trip|e H. Disttribution. |nc. vs. Schwarzkopf& Dep, Inc. & Henke| Corporati
Venue:
Case #: 2:04-CV-2108
Date: '1 2/712004
Start Time: 9:00 AM
End Time: 3:45 PM
d Re[:)o_r;a'_r:mmwwW Kristy Farley
Claim #:

 

 

 

 

      

 

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Payments 50.00
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Payment Due Upon Recer'pt oflnvoice

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/05 Page 8 of 9 Page|D 125

M%Mgg%a-SHM-STA Documemasa Filed 05/23

REPORTING, INC.
Po.st\'.`)ffz`co Bc)x S?`B ~ Seymnur,']'N 3?8&5-0876
Tclepb.onc {565) 3108-6565 l Tolll~'ree (&%!%)768-65$ l Fax (8&5‘; 428-5919
e-rz‘_ail: prcciscreportem@aol.wm - web: www_preciserepnrtwg.ner

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FEU'_ :‘DF _‘)E- .'\'."52:.`-50

         

Court reporters heated !kroughau! Tennessee

DATE: _Ia.nuaz'j; 16, 2005 }'N\’OICE # 3554

lofm T. W'mcmil]er, Esquirc RE: Triplc H Dlsmbut:'on, Inc, vs.

Hunton & Williams Schw~arzkopf`& D»ep, lnc. end chkel Corporation

900 S. Gay Strcel, Suile 2000 Ur~'ITED STATES DES`IRIC'!` COL'RT 13ij THE

Knoxvii!e, TN 37902 WESTERN DISTRI£T OF TE?~'NESSF_E AT
Ml".'MPI-US

Casc No. 2:04-€\1`-2]03

REPORTER: K:m:n Otcri

 

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TATES DISTRICT OURT - WESTENR ISRICT oF TENNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:04-CV-02108 Was distributed by faX, mail, or direct printing on
.1 une 2, 2005 to the parties listed.

 

 

.1 ohn A_ Lucas

HUNTON & WILLIAMS
900 S_ Gay St_

KnoX\/ille7 TN 37902

Paul HoWard Morris

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave_

Ste_ 1000

1\/lemphis7 TN 38119

.1 ohn T_ Winemiller
HUNTON & WILLIAMS
P_O_ Box 951

KnoX\/ille7 TN 37901

.1 ames L_ Holt

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr_

1\/lemphis7 TN 38018

Robert DiTrolio

U.S. DISTRICT COURT
167 N_ Main St_

Ste_ 242

1\/lemphis7 TN 38103

Adam 1\/1_ Nahmias

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr_

1\/lemphis7 TN 38018

Honorable Samuel Mays
US DISTRICT COURT

